        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 1 of 39




                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


I, Joseph W. Ferrell, being first duly sworn, state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI“). I have been

in this position since May 12, 2019. Prior to joining the FBI, I served four and a half years in the

United States Army, most recently as a Squad Leader in the 82nd Airborne Division, to include a

ten month deployment to Afghanistan. After completing my enlistment with the Army, I was a

Management Analyst on an Internal Performance Audit team with the National Science

Foundation, working on an audit of government accountability for equipment purchased on multi-

million dollar grants. Since joining the FBI, I have been assigned to an extraterritorial terrorism

squad primarily investigating terrorism financing operations. I am assigned to the Washington

Field Office of the FBI.

       2.      This affidavit is being submitted in support of a criminal complaint alleging that

MUZZAMIL ZAIDI (ZAIDI), ASIM NAQVI, ALI CHAWLA, and others known and unknown

have conspired to provide services to Iran and the government of Iran (GOI), by collecting money

in the United States on behalf of the Supreme Leader of the Islamic Republic of Iran, the Ayatollah

Ali Husseini Khamenei (hereinafter, the Supreme Leader of Iran), and causing the money to be

transported to Iran, without having first obtained a license from the Office of Foreign Assets

Control (OFAC), as required by law, in violation of 50 U.S.C. §§ 1701-1705. The complaint also

alleges that ZAIDI has acted within the United States as an agent of the GOI without having first

notified the Attorney General, in violation of 18 U.S.C § 951.

       3.      This affidavit is based on my personal knowledge, information provided to me by

other law enforcement agents, law enforcement records, court-authorized searches, witness
           Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 2 of 39




interviews, and my training and experience, as well as the training and experience of other law

enforcement agents. When I provide in this affidavit direct quotations of statements made by

defendants, they are often preliminary translations of statements that were made in the Farsi or

Urdu language.

       4.       Because this affidavit is being submitted for the limited purpose of establishing

probable cause in support of a criminal complaint, I have not included each and every fact known

to me concerning this investigation. I have only set forth the facts that I believe are necessary to

establish probable cause that the defendants violated 50 U.S.C. §§ 1701-1705 and that ZAIDI

violated 18 U.S.C. § 951.

                                        BACKGROUND

       5.       Muzzamil Husnain Zaidi (ZAIDI) was born in 1984 in Karachi, Pakistan, and

became a naturalized U.S. citizen on or about January 20, 2005. Since August 2014, ZAIDI has

resided primarily in Qom, Iran, where he attended Al-Mustafa International University, but has

traveled to the United States on occasion, most recently arriving in the United States on or about

June 12, 2020. While in the United States, ZAIDI resides primarily in the Houston, Texas area.

ZAIDI possesses a valid United States passport and two Pakistani passports. According to a copy

of ZAIDI’s resume recovered in a court-authorized search of ZAIDI’s Yahoo! account, 1 ZAIDI

was employed as a branch manager at two different U.S. banks from in or around 2006 to in or

around 2010.

       6.       Asim Mujtaba Naqvi (NAQVI) was born in 1984 in Karachi, Pakistan, and became

a naturalized citizen on or about February 3, 2010. NAQVI primarily resides in the Houston, Texas


       1
       Yahoo! records show that this account was created in 2002 and registered to a “Mr
Muzzamil Zaidi” in Katy, Texas.


                                                 2
         Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 3 of 39




area. According to a draft resume recovered from ZAIDI’s email account, NAQVI was employed

as a personal banker and lead teller at a U.S. bank from in or around 2006 to 2008 and as a retail

banker at a separate U.S. bank in or around 2008 to 2011.

        7.     Ali Chawla (CHAWLA) was born in 1984 in Pakistan. He resided in the United

States sporadically until 2014 and has resided outside the United States since 2014. Chawla resides

in Qom, Iran, and is the director of Islamic Pulse, which is described below. CHAWLA is also

affiliated with Jamiat Al Mustafa University.

        8.      Jamiat Al Mustafa University, also known as Al-Mustafa International University

(hereinafter, Al-Mustafa University), was rebranded in 2007 under the direction of the Supreme

Leader of Iran in order to export Iran’s revolutionary ideology. More than 45,000 foreigners from

126 countries have graduated from Al-Mustafa University since its inception. As of October 2016,

it is estimated that there are nearly 25,000 individuals from 130 countries enrolled at the various

branches of the university. The majority of individuals who attend the university study in Qom,

where they live with their families.

        9.     The GOI is a foreign power with which the United States has no formal diplomatic

relations. The U.S. Secretary of State has named Iran a state sponsor of terrorism each year since

1984. As discussed below, the United States has imposed economic sanctions on Iran since 1995,

and more recently, in June 2019, the United States imposed sanctions on the Supreme Leader of

Iran.

        10.    Beginning at least in or around December 2018 and continuing to at least in or

around December 2019, in the District of Columbia and elsewhere, ZAIDI, NAQVI, and

CHAWLA, and others known and unknown, have conspired to violate U.S. laws, including the

U.S. sanctions on Iran, by collecting, in the United States, (1) a religious tax known as “khums”




                                                3
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 4 of 39




on behalf of the Supreme Leader of Iran; and (2) other funds in the form of U.S. dollars, and

causing those funds to be transported to Iran, including through Iraq and other countries. The

defendants raised much of this money through a purported campaign to provide humanitarian

assistance in Yemen organized by a pro-GOI website known as “Islamic Pulse.” With respect to

money collected in the United States, the defendants recruited others to carry the cash from the

United States to Iran or Iraq (for eventual delivery to Iran) and caused the travelers to carry no

more than $10,000 in order to avoid the filing of a Report of International Transportation of

Currency or Monetary Instruments (CMIR) with United States Customs and Border Protection

(“CBP”) and/or law enforcement scrutiny.

       11.     Beginning at least in or around December 2018 and continuing to at least in or

around December 2019, in the District of Columbia and elsewhere, ZAIDI has acted in the United

States as an agent of the GOI. In particular, ZAIDI has, under the authority of and on behalf of the

Supreme Leader of Iran, collected money from persons residing in the United States and arranged

to have that money transported to Iran, in violation of U.S. law.

                             RELEVANT LEGAL PROVISIONS

                   The International Emergency Economic Powers Act and
                     the Iranian Transactions and Sanctions Regulations

       12.     The International Emergency Economic Powers Act (IEEPA), 50 U.S.C. §§ 1701-

1705, granted the President of the United States the authority to deal with unusual and

extraordinary threats to the national security, foreign policy or economy of the United States.

Pursuant to that authority, the President may declare a national emergency through Executive




                                                 4
         Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 5 of 39




Orders that have the full force and effect of law. Among other things, IEEPA empowers the

President to impose economic sanctions on a foreign country.

       13.     On March 15, 1995, the President issued Executive Order 12,957, which found that

the actions and policies of the GOI constituted an unusual and extraordinary threat and declared a

national emergency under IEEPA to deal with that threat. 60 Fed. Reg. 14,615 (Mar. 17, 1995). In

two subsequent Executive Orders in 1995 and 1997, the President imposed comprehensive

sanctions on Iran and clarified the original declaration of a national emergency. See Exec. Order

No. 13,059, 62 Fed. Reg. 44,531 (Aug. 21, 1997); Exec. Order No. 12,959, 60 Fed. Reg. 24,757

(May 9, 1995). Since 1997, the President has continued the national emergency with respect to

Iran and the 1995 and 1997 Executive Orders.

       14.     To implement the sanctions, the Secretary of the Treasury, through the Office of

Foreign Assets Control (OFAC), which is located in Washington, D.C., promulgated the Iranian

Transactions and Sanctions Regulations (ITSR), 31 C.F.R. Part 560.

       15.     Absent permission from OFAC in the form of a license, the ITSR prohibit, among

other things, the export, re-export, or supply, directly or indirectly, from the United States, or by a

U.S. person, wherever located, of any goods or services, including financial services, to Iran or the

GOI. 31 C.F.R. § 560.204. This prohibition applies to (1) the transfer of funds, directly or

indirectly, from the United States or by a U.S. person, wherever located, to Iran or the GOI, and

(2) the provision of money remittance services, directly or indirectly, to Iran or the GOI. 31 C.F.R.

§ 560.427.

       16.     The term “government of Iran,” as used in the ITSR, includes, among other things,

the state and government of Iran, as well as any political subdivision, agency, or instrumentality

thereof; and any person to the extent that such person is, or has been, acting or purporting to act,




                                                  5
           Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 6 of 39




directly or indirectly, for or on behalf of the foregoing. 31 C.F.R. § 560.340. This definition

includes the Supreme Leader of Iran and the Supreme Leader’s Office and the Islamic

Revolutionary Guard Corps (IRGC).

       17.        On June 24, 2019, pursuant to IEEPA, the President issued Executive Order 13,876,

imposing sanctions on the Supreme Leader of Iran and the Supreme Leader’s Office. Exec. Order

No. 13,876; 84 Fed. Reg. 30,573 (Jun. 26, 2019). These additional steps were taken in response to

“the actions of the Government of Iran and Iranian-backed proxies, particularly those taken to

destabilize the Middle East [and] promote international terrorism.” Executive Order 13,876

prohibits, by a United States person or with respect to property in the United States, the making of

any contribution or provision of funds, goods, or services, by, to, or for the benefit of, any person

whose property and interests in property are blocked pursuant to the order, including the Supreme

Leader of Iran.

       18.        While the ITSR authorize the transfer of funds involving noncommercial, personal

remittance to Iran or for or on behalf of an individual in Iran, they prohibit such transfers to, by,

or through the GOI. 31 C.F.R. § 560.550(a). Executive Order 13,876 further prohibits transfers by,

to, or for the benefit of the Supreme Leader of Iran.

       19.        Charitable donations of funds to Iran also require a specific license from OFAC. 2

Noncommercial, personal remittances do not include charitable donations to or for the benefit of



       2
         OFAC has issued a general license authorizing nongovernmental organizations (NGOs)
to export or re-export services to, or related to, Iran in support of certain not-for-profit activities
designed to directly benefit the Iranian people. See https://www.treasury.gov/resource-
center/sanctions/Programs/Documents/iran_gle.pdf. The license further authorizes NGOs to
transfer up to $500,000 per year in support of such activities. The license does not, however,
authorize U.S. persons to transfer financial donations directly to Iran or NGOs in Iran.
Furthermore, the license does not authorize the export or re-export of services to sanctioned
individuals, including, as of June 24, 2019, the Supreme Leader of Iran.


                                                  6
         Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 7 of 39




an entity or transfers of funds for use in supporting or operating a business. 31 C.F.R. § 560.550(b).

Executive Order 13,876 further prohibits the making of donations of food, clothing, and medicine

to, or for the benefit of, the Supreme Leader of Iran, finding that such donations would “seriously

impair … the ability to deal with the national emergency [declared in the order].”

       20.     The ITSR, specifically 31 C.F.R. § 560.203, and Executive Order 13,876 further

prohibit any transaction by any U.S. person or within the United States that evades or avoids, or

has the purpose of evading or avoiding, or attempts to violate, any of the prohibitions contained in

the ITSR and Executive Order 13,876.

       21.     Under IEEPA, it is a crime to willfully violate, attempt to violate, conspire to

violate, or cause a violation of any order, license, regulation, or prohibition issued by statute,

including the ITSR and Executive Order 13,876. 50 U.S.C. § 1705(a).

                                 Agent of a Foreign Government

       22.     Section 951 of Title 18 of the United States Code makes it a crime to act within the

United States as an agent of a foreign government without prior notification to the Attorney

General. “Agent of a foreign government” is defined, with certain exceptions not applicable here,

as “an individual who agrees to operate within the United States subject to the direction or control

of a foreign government or official.” 18 U.S.C. § 951(d).

BACKGROUND ON KHUMS, THE YEMEN CIVIL WAR, AND THE ISLAMIC PULSE
                          CAMPAIGN

       23.     The information in this section is based on open sources, including U.S.

government websites.

                                                Khums

       24.     Khums, which means “one-fifth” in Arabic, is a religious tax imposed as a

jurisprudential tenet of Islam. Within Shia Islam, the dominant Islamic sect in Iran, individuals are



                                                  7
           Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 8 of 39




required to pay twenty percent of their unused annual income to the Imam, the head of the Islamic

State, through his surrogates known as maraji (sing. marja). 3 As the Imam is believed to be in

another realm, the representative of the twelfth Imam, the Supreme Leader of Iran, is recognized

as the head of the Islamic State. The Supreme Leader of Iran and other surrogates of the Imam are

authorized to collect khums money on the Imam’s behalf. As of 2017, there were 86 such

surrogates worldwide, with the Supreme Leader of Iran being among the most prominent. Sayyid

Ali al-Husayni al-Sistani (“Sistani”) is another prominent Iranian surrogate, living in Iraq.

       25.      Khums are paid to the Supreme Leader of Iran, and other marja, through each

marja’s designated representatives, who are authorized in writing to collect on the marja’s behalf.

The Supreme Leader of Iran determines how khums are used in Iran and/or within the GOI; he (or

his office) also provides official receipts to his representatives, such as ZAIDI, who are then

responsible for providing those receipts to the persons who paid khums.

       26.      Without a receipt, a person’s religious obligation to pay khums has not been

relieved. According to a fatwa, a ruling or legal opinion under Islamic law, issued by Sistani’s

office, “for those who pay their religious dues that their fulfillment is not complete by just

delivering their dues to an authorized agent/Wakeel, rather they are obligated to ask him for a

receipt which is issued by us (our offices). Otherwise, the payer’s obligation is not considered

fulfilled without an official receipt even though the cause may be due to forgetfulness, inadvertent

mistake, or otherwise.”




       3
         A marja is a Grand Ayatollah with the authority given by an Islamic seminary to make
legal decisions within the confines of Islamic Law for followers and lower-ranking clerics.


                                                 8
         Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 9 of 39




                                          Yemen Civil War

        27.     Since approximately 2015, two factions have been fighting for control of Yemen:

the current government of Yemen and the Houthis, a Shia militant group. According to a 2019

U.S. Department of State report on terrorism, the Iranian regime continued to foment violence,

both directly and through proxies, in several countries, including Yemen. Iran provided weapons

and support to the Houthis, who share Iran’s Shia ideology, and the IRGC, a branch of Iran’s armed

forces, continued to maintain a presence in areas of Yemen controlled by the Houthis. Saudi

Arabia—Iran’s key ideological and geopolitical adversary in the region—has been supporting the

current Yemeni government.

                                            Islamic Pulse

        28.     Islamic Pulse is a publicly-available multimedia website that hosts images, videos,

and articles about Shia Islam and Iranian culture from the perspective of the GOI. It is purportedly

staffed by Shia seminary students in Qom, Iran, including ZAIDI and CHAWLA. CHAWLA was

the director of Islamic Pulse at all times relevant to this affidavit.

        29.     Among other things, on or about July 6, 2019, Islamic Pulse produced and

published an approximately five-minute long, English-narrated video titled “Islamic Pulse Funds

Yemen (Campaign),” (hereinafter the “IP Yemen Video”). The video was uploaded to Islamic

Pulse’s YouTube page around the same time.

        30.     The IP Yemen Video implores viewers to give khums or donations to Islamic

Pulse’s representatives, purportedly to help victims of the Yemeni civil war. The video claims that

the campaign has collected close to $90,000 and that donations were coming from multiple

countries, including the United States, and transiting Iran en route to Yemen. The video further

states that the campaign has received permission to collect khums on behalf of the Supreme Leader




                                                   9
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 10 of 39




of Iran, Ayatollah Sistani, and a third ayatollah. It depicts a letter written in Farsi authorizing the

campaign to collect khums. Finally, the video instructs viewers to send an email to EMAIL

ACCOUNT 1 with the following information: 1) name; 2) city of residence; 3) state/province; 4)

country; 5) amount; 6) donation or khums; and 7) name of marja, if the money was for khums.

And, it explains that the campaign “will try our best to arrange a pickup of these funds through

one of our representatives in your vicinity.” The Islamic Pulse YouTube page hosting the video

also contained the hashtag, “#IPfundsYemen.”

                               DETAILS OF PROBABLE CAUSE

                                 ZAIDI’s Connections to the GOI

   A. ZAIDI OFFERS HIS SERVICES TO THE GOI

       31.     According to a court-authorized search of ZAIDI’s Yahoo email account, on or

about July 28, 2015, less than a year after he moved to Iran and began attending Al-Mustafa

International University, ZAIDI emailed the email address for the Supreme Leader of Iran’s

website and stated that he was living in Qom, Iran, and wanted to serve and strengthen the Islamic

movement. ZAIDI described himself as an American who had achieved a bachelor’s degree in

political science and a master’s degree in “Homeland and International Community.” He further

wrote that he believed he could serve the “Islamic Republic in the socio-political arena or in

another field,” and asked for guidance from the Supreme Leader of Iran on how to best serve Islam.

The message was signed, “Muzzamil Zaidi.”

   B. ZAIDI’s Access to GOI Facilities and Officials in Syria in 2018

       32.     As detailed below, in 2018, ZAIDI traveled to Syria and, while there, traveled in

an armed GOI military or intelligence airplane and otherwise had access that implies a close




                                                  10
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 11 of 39




connection with the GOI and the IRGC, a branch of Iran’s armed forces that includes a

counterintelligence directorate and a representative of the Supreme Leader of Iran.

        33.     Based on information obtained through a court-authorized search of ZAIDI’s Gmail

account, 4 as well as information provided by ZAIDI’s email providers, ZAIDI traveled from Iran

to Syria in or around June 2018. As explained below, ZAIDI appears to have written and saved in

his Gmail account a detailed account of this trip. According to Google and Yahoo! records,

between on or about June 1, 2018, and on or about June 14, 2018, ZAIDI’s Gmail and Yahoo!

email accounts were accessed by IP addresses that resolved to Syria.

        34.     According to a court-authorized search of ZAIDI’s Gmail account, on or about July

9, 2018, ZAIDI sent an email with an attached document entitled “Syria journal2.docx,” which

contained a written account of his travel to Syria (“ZAIDI’s Syria Journal”). The document was

written in the first person and in English. Based on the content of ZAIDI’s Syria Journal and the

fact that he sent it from his Gmail account, I believe this journal is ZAIDI’s firsthand account of

his trip to Syria.

        35.     According to ZAIDI’s Syria Journal, at one point on the trip, he flew from the

Damascus area to Deir Ezoor, which is located approximately 310 miles east of Damascus. ZAIDI

wrote that the city saw “fierce battle at the hands of the American backed terrorists and the

resistance forces.” 5 ZAIDI described the aircraft he flew in to Deir Ezoor as an Iranian intelligence

and/or military plane, noting,



        4
        Google LLC (Google) records show that this account was created in 2010 and registered
to “Muzzamil Zaidi” with a recovery account of the Yahoo! account referenced above.
        5
         According to open-source information, there was a large-scale offensive by ISIS, and on
or about June 8, 2018, ISIS managed to penetrate the city of Abu Kamal, capturing several parts
of it.


                                                 11
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 12 of 39




               The plane itself was something that I had never experienced.
               Somebody once told me that Iranian intelligence is by far the poorest
               agency in the world but yet most effective and one could easily tell
               by looking at this plane. This plane barely had any chairs to sit on
               for these mujahideen and we were sitting on a hard bench right next
               to some mortar bombs.

       36.     ZAIDI’s Syria Journal further explained that the military/intelligence aircraft

landed at some sort of an airstrip that was not an airport, where a car was waiting for ZAIDI and

his group that ultimately took them to a Syrian military base under the command of an “Iranian

Sipah.” Based on my training and experience, I believe that “Sipah,” more commonly referred to

as “Sepah,” is the Farsi term for the IRGC. ZAIDI’s Syria Journal later describes a trip to a “Sipah

Quds” base. Also based on my training and experience, I believe that “Sipah Quds” refers to the

IRGC-Quds Force (IRGC-QF), which is a branch of the IRGC that conducts unconventional

warfare and intelligence activities outside Iran, including assassinations and cyber-related attacks,

among other things.

       37.     According to ZAIDI’s Syria Journal, ZAIDI and the group he was with traveled to

Abu Kamal, a city in Syria. As they did so, they were advised by their “security advisors” that they

were entering an active war zone and were given “Kalashankouve” (correct spelling

“Kalishnikov,” an automatic rifle manufacturer) to defend themselves in case of attack.

       38.     Based on ZAIDI’s Syria Journal, while in Syria, ZAIDI attended meetings with the

Supreme Leader of Iran’s representative in Damascus, Ayatollah Abolfazl Tabatabai. ZAIDI stated

that “we,” which he often used in the journal to refer to the group or “team” with which he was

traveling, were awaiting a shipment sent to them that was to arrive at Tabatabai’s office. During

the trip, ZAIDI noted that he and his team had to leave their hotel due to issues of payment and

were housed “at an apartment next to Agha Tabatabai’s office, at the courtesy of Imam Khamenei’s

representative.”



                                                 12
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 13 of 39




       39.     During a court-authorized search of ZAIDI’S Google Account, the FBI identified

photographs that corroborate some of the information in ZAIDI’s Syria Journal. For example, the

FBI recovered a photograph that shows ZAIDI and others sitting with two Middle Eastern males,

who appear to be wearing similar uniforms and one of whom is holding an automatic rifle. Another

photograph depicts a group of people walking away from a small plane on a remote airstrip. In yet

another photograph, ZAIDI and another individual are pictured posing by the side of a road with

an automatic rifle identified as a Kalishnikov AK-47. There were also multiple photographs of

war-torn areas as described in ZAIDI’s Syria Journal. The photographs discussed above were all

transmitted between ZAIDI and other individuals between on or about June 1 and on or about June

14, 2018.

       40.     Based on my training and experience and the results of this investigation, as well

as discussions with other FBI agents, I believe that ZAIDI would not have been afforded the access

he stated he was granted in Syria, specifically to the Supreme Leader of Iran’s representative, an

armed GOI military or intelligence aircraft, and at least one IRGC-QF base in an active war zone,

unless he had a very close relationship to the Supreme Leader of Iran’s office and/or other

components within the GOI, including the IRGC.

       41.     On or about June 9, 2019, ZAIDI entered the United States from Iran. During his

border inspection, and he was questioned by U.S. Customs and Border Protection (CBP) officers.

Regarding his trip to Syria, ZAIDI told CBP that he did not go further than approximately one

hour from Damascus by car, which is contrary to the account in ZAIDI’s Syria Journal. Despite

what he wrote in the journal (described above) about receipt of a “Kalashankouve,” as well as the

pictures of ZAIDI with others who were armed in a war zone in Syria, ZAIDI did not acknowledge

carrying any weapons to protect himself and stated that the area where he visited was safe. He also




                                                13
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 14 of 39




denied having any interaction with foreign fighters, military, or government officials. The CBP

officer noted that ZAIDI’s demeanor changed when the topic of the interview shifted to Syria. For

example, the officer noted that in prior portions of the interview, ZAIDI appeared relaxed and

readily answered questions with no apparent difficulty. By contrast, when discussing Syria, ZAIDI

was sitting on the edge of his seat with arms crossed, mumbling, and pausing frequently as if to

gather his thoughts before responding. According to CBP records, he departed the United States

for Iraq on or about October 16, 2019.

        C. ZAIDI’s Support for the Supreme Leader of Iran and Connections with GOI officials

        42.     ZAIDI has been a vocal supporter of the Supreme Leader of Iran and the GOI and

has acted to further these interests, including while in the United States and in addition to collecting

money for the Supreme Leader of Iran. Unless stated otherwise, the following conversations were

obtained via court-authorized electronic surveillance and/or physical search.

        43.     On or about July 14, 2019, ZAIDI 6 had a telephone call with Person A in which

Person A told ZAIDI that Person A and ZAIDI were soldiers of the Supreme Leader of Iran and

Imam-e-Zaman and are working for them. 7

        44.     ZAIDI has implied to his associates that he has connections with senior officials

within the GOI. For example, on or about September 26, 2019, ZAIDI told Person P that he once

contacted his “other connections of the higher ups” who were able to issue the khuruji (exit stamp

issued by the GOI that is required for a person to leave Iran). ZAIDI said his contacts do not ask



        6
         ZAIDI is believed to be the person referenced in the telephone calls described below
based on the results of court-authorized electronic surveillance.
        7
         “Imam-e-Zaman” is likely a reference to the Twelfth Imam, mentioned above, who is
believed to reside in another realm.


                                                  14
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 15 of 39




for money in return for help but instead ask a person to work for them. Based on my training and

experience, and the results of this investigation, I believe that ZAIDI was referring to high-level

GOI officials as opposed to individuals of lower status.

       45.     ZAIDI has engaged in conversations where he appears to discuss GOI handlers. For

example, on or about December 10, 2019, ZAIDI told NAQVI 8 that his “teacher” reached out to

him. According to ZAIDI, the “teacher” said that there was a rumor circulating that ZAIDI was in

Europe and asked for some proof that he was in the United States. ZAIDI further stated that he

was aware of the rumor and that it involved ZAIDI collaborating with people from Europe. ZAIDI

told NAQVI that the teacher cautioned him to be careful because there are Pakistanis that are

working here, which I believe to be referring to the United States. ZAIDI further stated that this

kind of rumor reaches the highest level and the higher-ups are looking into it. Based on my training

and experience and the results of this investigation, I believe ZAIDI was referring to rumors within

the GOI, and likely the IRGC, that ZAIDI was in Europe and working with Western intelligence

agencies.

       46.     ZAIDI has been active in his support of the GOI as recently as February 2020. On

or about April 22, 2020, the Tehran Times published an article titled, “Foreign students in Qom

mark anniversary of Islamic Revolution.” The article described an event held in Qom, Iran, on or

about February 21, 2020, that was organized by the Students of Qom (SOQ). SOQ is an umbrella

group of non-Iranian seminary students and revolutionary activists living and studying in Qom.

According to the article, ZAIDI emceed the event. Guests at the event were presented with a Qasem




       8
        NAQVI is believed to be the person referenced in the telephone calls described below
based on the results of court-authorized electronic surveillance



                                                15
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 16 of 39




Soleimani badge and passed by posters of martyrs of the Baghdad Airport attack. 9 U.S. and Israeli

flags were used as floor mats. A number of speakers spoke about the duty of Muslims to defend

the Islamic Revolution and uphold the revolutionary spirit in order to stay victorious over the

enemies of Islam. Special guests at the event included the Yemeni ambassador to Iran and

Ayatollah Mohsen Araki, a member of the Assembly of Experts in Iran 10 and former personal

representative of the Supreme Leader of Iran. Araki presented awards to “social media activists

and content creators whom [CHAWLA] rightly called officers of the media war.” The event ended

with the audience’s loud chants of death to America, death to Israel, and pledging allegiance to the

Supreme Leader of Iran.

       47.     A court-authorized search of ZAIDI’s Gmail account occurring on or about March

30, 2020, revealed multiple images that appear to corroborate facts contained in the Tehran Times

article, such as images of ZAIDI speaking from behind a podium. Other images show a mural

behind the podium displaying the IRGC and Hizballah logos. This same mural appeared in the

photos from the Tehran Times article. The account also contained images of Araki presenting

plaques and posing with ZAIDI and others. One of those photographs depicted ZAIDI with other

members of Islamic Pulse, holding a plaque and standing with Araki on stage.

                    CONSPIRACY TO MOVE U.S. DOLLARS TO IRAN

       48.     As detailed below, from at least in or around December 2018 and continuing to at

least in or around December 2019, ZAIDI, NAQVI, and CHAWLA, and others known and


       9
         Qasem Soleimani was the commander of the IRGC-QF. He was killed by a U.S. airstrike
at the Baghdad Airport in Iraq on or about January 3, 2020.

       10
         The Assembly of Experts is the deliberative body empowered to designate and dismiss
the Supreme Leader of Iran. Members of the Assembly of Experts must be approved by the
Supreme Leader of Iran before gaining membership.


                                                16
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 17 of 39




unknown, conspired to collect money from persons residing in the United States and cause that

money to be transported to Iran, in violation of IEEPA. The scheme entailed soliciting persons to

contribute money and recruiting persons to take the money with them on flights from the United

States to Iran and Iraq (for ultimate delivery to Iran). The individuals traveling to Iran and Iraq

generally carried less than $10,000 to avoid reporting requirements and law enforcement scrutiny,

and when interviewed, gave false information to CBP about the origin and intended use of the

money. Unless stated otherwise, the following conversations were obtained via court-authorized

electronic surveillance and/or physical search.

   A. Islamic Pulse Core Members Obtain Authority from the GOI to Collect Khums

       49.     On or about December 5, 2018, ZAIDI made an audio recording. 11 The recording,

which is primarily in English, appears intended for a group audience. In the recording, ZAIDI

states that it is publicly known that he is collecting khums on behalf of the Supreme Leader of

Iran. He further states that, when he receives official authorization from the Supreme Leader of

Iran within the next several hours, he will send that information to the group.

       50.     ZAIDI’s Google account contained a letter, hand-written in Farsi, dated December

5, 2018, giving permission to spend khums money on the people of Yemen. The letter appears to

bear the signature and stamp of Ayatollah Araki (described above). The letter does not mention

any person or entity by name.

       51.     ZAIDI’s Google account also contained a second letter bearing the stamp of

Ayatollah Araki and issued on or about February 28, 2019. The letter was from Araki, and it


       11
           Although ZAIDI does not identify himself in this particular recording, I believe that it is
his voice. First, the recording was seized from his account. Second, FBI linguists have listened to
numerous recordings in which ZAIDI does identify himself. These linguists were asked to listen
to this recording and advised me that they believe this recording is of ZAIDI’s voice.



                                                  17
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 18 of 39




declared that, based on religious permissions by the Supreme Leader of Iran and Ayatollah

Sistani, 12 and referring to a letter by Araki on December 5, 2018, that it is permissible to spend

half of the khums money on the people of Yemen. Based on my training and experience, I believe

that the other fifty percent would remain in the marja’s office for use as he sees fit. The letter does

not mention any person or entity by name.

        52.    Based on my review of returns from a search warrant executed on EMAIL

ACCOUNT 1, 13 it appears that the authority to collect khums extended to the core members of

Islamic Pulse generally. For example, users of that email account listed the core members of

Islamic Pulse, which included ZAIDI and CHAWLA, as working together to collect and distribute

the khums money in accordance with the letters described above.

    B. Knowledge of U.S. Sanctions on Iran

        53.    Based on court-authorized electronic surveillance, starting at least in or around

March 2019, ZAIDI was researching how to transfer money from the United States to Iran. On or

about March 4, 2019, ZAIDI searched online for “is carrying money from america to iran for an

american citizen illegal.” On or about the same day, he visited a publicly available online travel

forum on the topic of “U.S. Customs Restrictions for Americans Visiting Iran.”

        54.    On June 24, 2019, the President issued Executive Order No. 13,875 imposing

additional sanctions on the Supreme Leader of Iran and his office. Among other things, the

sanctions prohibit the provision of funds to, or for the benefit of, the Supreme Leader of Iran and

his office.


        12
           ZAIDI also has obtained authority to collect khums on behalf of Ayatollah Sistani, who
is located in Iraq, but has an office in Qom, Iran.
        13
         As noted above, EMAIL ACCOUNT 1 was provided during the IP Yemen Video as a
way of contacting Islamic Pulse and donating money to the Campaign.


                                                  18
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 19 of 39




        55.    Unless stated otherwise, the following conversations were obtained via court-

authorized electronic surveillance and/or physical search. On or about that same day, ZAIDI asked

NAQVI whether NAQVI had read the news he had sent. After NAQVI replied that he had read it

that morning, ZAIDI stated, “Hmm. This is a straight hit on khums… on the Rahbar [Supreme

Leader]. [Pause] It is a hit on khums.”

        56.    On or about the next day, June 25, 2019, ZAIDI asked Person C whether he had

heard about the sanctions placed on “our father.” ZAIDI further told Person C that they should

seek legal advice 14 from someone because if the khums are being collected in “the name of that

person,” referring to “father,” then anything that has to do with him would be flagged. Based on

my knowledge and experience, including the timing of the statement relative to the imposition of

the sanctions, I believe that ZAIDI was referring to the Supreme Leader of Iran as “father.”

        57.    On or about July 7, 2019, ZAIDI searched Google for “ofac countries” and then

visited the U.S. Treasury Department’s publicly available website that provides information about

OFAC and its sanctions programs, including sanctions against Iran and the Supreme Leader of

Iran.

    C. IP Funds Yemen Video

        58.    Unless stated otherwise, the following conversations were obtained via court-

authorized electronic surveillance and/or physical search. ZAIDI participated in the development

of a video script supporting the Islamic Pulse’s purported Yemen campaign (the IP Yemen Video,

described above). On or about June 1, 2019, ZAIDI received an email captioned “IP Yemen Video”

that attached a transcript for a video about an effort to collect Khums on behalf of the Supreme



        14
         Based on my review of the evidence developed to date, I am not aware of whether
ZAIDI or Person A sought legal advice or not.


                                               19
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 20 of 39




Leader of Iran and Sistani, purportedly to provide humanitarian aid to starving children in Yemen.

The email sought ZAIDI’s input, stating “the length of the script may be too long . . . I’ll leave the

editing to you.” The email further stated “if you want me to remove something/add something then

let me know.”

       59.      The transcript attached to the June 1, 2019 email outlined a campaign to collect

funds to send to Yemen, purportedly to help the victims of war. According to the transcript: (1)

the campaign had collected close to $90,000 and more than $60,000 had already been dispatched;

(2) the money was donated from the United Kingdom, Iran, Pakistan, Canada, America, Australia,

and Ireland; and (3) the campaign had been given authorization to collect khums from the Supreme

Leader of Iran, Sistani and a third Ayatollah. The transcript called on the “spirit of Karbala” to

oppose the “monstrous, ruthless, blood sucking Saudi-US-UK coalition.” As noted above, the

Iranian regime has generally supported the Houthi militants in Yemen, while Saudi Arabia has

been supporting the Yemeni government.

       60.      As discussed above, on or about July 6, 2019, the IP Yemen Video was uploaded

to YouTube. The substance of the video substantially conformed to the transcript that was emailed

to ZAIDI for editing on or about June 1, 2019. The video appears to have been professionally

produced, and it contains multiple images that purport to show starving Yemeni children. The

video’s narrator states that money has been collected from multiple countries, including the United

States. At the same time, the video shows an animation depicting cash flow from the United States

and other countries to Iran, and then on to Yemen. When the narrator describes the Islamic Pulse

team, the camera pans the room, and it depicts an individual who looks like known photographs

of CHAWLA.




                                                 20
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 21 of 39




       61.      According to information provided by Google, the recovery email address for the

account used to upload the IP Yemen Video to YouTube was CHAWLA’s Gmail account, 15 and

the recovery phone number was an Iranian cell phone number that has been attributed to

CHAWLA in search-warrant returns related to EMAIL ACCOUNT 1.

       62.      The FBI has recovered two different spreadsheets used to track khums and

donations to the Yemen campaign, one from a search of CHAWLA’s Google Drive account and

the other from a search of EMAIL ACCOUNT 1’s Google Drive account. Based on these

spreadsheets, Islamic Pulse’s “Core Team” included CHAWLA and ZAIDI. NAQVI was listed as

having given khums in the name of Khamenei to ZAIDI. According to a court-authorized search

of his Google account, ZAIDI was given access to both spreadsheets. According to information

provided by Google in response to a search warrant for EMAIL ACCOUNT 1’s Google Drive,

CHAWLA’s Google account made multiple edits to the spreadsheet associated with EMAIL

ACCOUNT 1’s Google Drive.

       63.      As of on or about July 22, 2019, ZAIDI had a photograph of a hand-written list in

his Google drive that had been created on or about July 10, 2019. The list appeared to be an

accounting of dollar amounts and the persons who had provided money to ZAIDI. Based on my

knowledge of the results of this investigation, I believe that these amounts represented amounts of

money that had been given to ZAIDI for ultimate delivery to Iran. The monetary amounts totaled

approximately $40,200.

   D. Islamic Pulse Campaign Responds to Donors’ Concerns




       15
            CHAWLA identified this email account as his in an interview with FBI agents in 2014.


                                                21
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 22 of 39




       64.     The information in this section comes from my review of search warrant returns for

EMAIL ACCOUNT 1 and CHAWLA’s Gmail account. My review of those emails showed that

when individuals emailed EMAIL ACCOUNT 1 asking about how to pay khums or donate money

and how the money would be spent in Yemen, the user(s) of EMAIL ACCOUNT 1 would: (1)

refuse to give specifics over email; (2) acknowledge that IP Funds Yemen was not a registered

charity and did not have a bank account; (3) seek donations in U.S. dollars and/or euros over other

currencies; and (4) demonstrate knowledge that U.S. sanctions generally prohibited U.S. dollars

from being used the way the campaign planned to use them. A few examples are below.

       65.     Correspondence sent to EMAIL ACCOUNT 1 was often subsequently forwarded

to CHAWLA’s Gmail account. On those occasions, CHAWLA would generally craft a response

to the inquiry and send his response back to EMAIL ACCOUNT 1. EMAIL ACCOUNT 1 would

then take CHAWLA’s response and send it verbatim to the sender of the original inquiry.

       66.     On or about July 7, 2019, a prospective donor wrote to EMAIL ACCOUNT 1 and

asked, “[I]f there is still a blockade for aid coming into yemen [sic], how is Islamic Pulse getting

the aid pass by [sic]?” This email was forwarded to CHAWLA’s Gmail account. CHAWLA’s

Gmail account replied to EMAIL ACCOUNT 1 with a suggested response. On July 9, 2019,

EMAIL ACCOUNT 1 sent CHAWLA’s suggested response verbatim, including, “It’s not

appropriate to be shared over email.”

       67.     On or about July 8, 2019, in response to an email from an individual who claimed

to have given money to Yemen via a different organization and who wanted to know whether that

individual should stop giving to that organization, CHAWLA’s Gmail account suggested language

to use in response to EMAIL ACCOUNT 1. On or about that same day, EMAIL ACCOUNT 1

replied to the original email using CHAWLA’s suggested text verbatim, including, “Before




                                                22
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 23 of 39




collecting funds, we made sure to open up the channel with legitimate and right hands in Yemen!

Alhamdolillah [thanks be to Allah] our channel is completely trustworthy. Beyond this level of

information, it would be inappropriate for us to communicate via email.”

       68.     Also on or about July 8, 2019, in response to an email from an individual who

claimed to be located in Yemen and was “curious of where and who in Yemen these funds are

going to,” CHAWLA’s Gmail account suggested language to use in response to EMAIL

ACCOUNT 1. On or about the next day, EMAIL ACCOUNT 1 replied to the original email using

CHAWLA’s suggested text verbatim, including, “that information may not be appropriate to

shared [sic] via email. Rest assured, these funds will end up in the hand of the best of Yemenis

resisting the oppression. And they will distribute it appropriately.”

       69.     On or about July 10, 2019, a self-described representative of a charity based in

Australia emailed EMAIL ACCOUNT 1 and stated that the charity had collected over $300,000

AUD that had been delivered to Yemen via a charity based in the United Kingdom. The writer

asked whether Islamic Pulse was a registered charity in any country and whether it had an account

in the United Kingdom. On or about July 11, 2019, CHAWLA’s Gmail account sent an email with

suggested language to use in a reply to EMAIL ACCOUNT 1. On or about July 13, EMAIL

ACCOUNT 1 replied to the original email, using CHAWLA’s suggested language verbatim, in

part, “We are not a registered charity organization. That said, we can provide you with an account

in the UK if you give us the breakdown of your contributions in advance.”

       70.     On or about July 27, 2019, CHAWLA’s Gmail account sent an email to EMAIL

ACCOUNT 1 containing suggested language to use in response to a prospective donor from New

Zealand who had pledged 90 New Zealand dollars. On or about the next day, EMAIL ACCOUNT




                                                 23
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 24 of 39




1 replied, in part, using CHAWLA’s suggested language verbatim, “We are using USD [U.S.

dollars].”

       71.     On or about September 2, 2019, in response to an inquiry from a prospective donor

who claimed to be in North Carolina and asked for mailing addresses or bank account numbers to

which he could send a $100 contribution, EMAIL ACCOUNT 1 replied, “Once the funds are in

Qom, you can contact Br. Ali [CHAWLA] . . . please try your best to send it in USD, else we will

have to convert them into USD.”

       72.     On or about December 9, 2019, an individual who claimed to represent a Muslim

youth group in the United States emailed EMAIL ACCOUNT 1 about donating funds from a youth

group fundraiser. She asked to “explain the exact procedures we would need to do in order to make

our donation, including how we would get that money to you, and how you will get that money to

Yemen?” On or about December 12, 2019, EMAIL ACCOUNT 1 replied, “In terms of how we

route the funds to Yemen, it may not be a good idea to share that information over email. It may

be sensitive information as you live in the US. . . . Still, if you desire to find out over email, we

can send you some details. (not recommended).”

       73.     On or about January 9, 2020, a donor wrote to EMAIL ACCOUNT 1 and stated, “I

donated to one of your people for the campaign of Yemen. I hope my money went to the right

people.” In a later email, the writer suggested that the group open an official bank account for a

campaign and noted, “Volunteers had no identity proof to validate that they are from your

campaign(we [sic] cannot give money to any random person.”

       74.     On or about January 12, 2020, EMAIL ACCOUNT 1 account replied, “Thanks for

your words of wisdom! Can you please open a bank account and send us your account details so

we can pass them to random people for depositing money in it?” After the emailer replied that he




                                                 24
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 25 of 39




would certainly open an official bank account if he had started a campaign, EMAIL ACCOUNT

1 account replied, “I think you are either too young to understand the issue or have no clue of what

is going on in the world.”

   The Defendants Arrange for the Movement of Money from the United States to Iran

       75.     The defendants enlisted others to transport the money collected in the United States

to Iran on at least four occasions. They intentionally caused each person to carry less than $10,000

out of the United States, to avoid the requirement to file a CMIR and/or law enforcement scrutiny.

Unless otherwise stated, the following conversations were obtained via court-authorized electronic

surveillance and/or physical search.

       76.     On or about August 9, 2019, Person E called ZAIDI to discuss money he had

collected to send to ZAIDI. Person E was with Person F, who had been dispatched by ZAIDI to

collect the funds. Person E informed ZAIDI that there was an issue as “all the cash he had [was]

in his bank account and his ATM had a cash withdrawal limit.” The cash withdrawal limit was

$700. Person E acknowledged that Person F would “return next week and by that time he [Person

E] [would] withdraw all of it.” Person E opined that by “that time there might be more collection

added to it since there were two to three donors more who were out of town and they are in his

friends circle.” Person E asked ZAIDI if he was fine with that plan, and ZAIDI said he was.

       77.     According to information provided by a U.S.-based company that allows people to

send funds to each other electronically, Person E’s statement contained at least three entries on or

about August 2, 2019, August 10, 2019, and August 17, 2019, identified as “Islamic Pulse funds

Yemen,” “Yemen,” and “Yemen funds.” Moreover, according to Person E’s bank account records,

on or about August 9, 2019, an ATM withdrawal of $700 was made from the account. This

withdrawal is consistent with the aforementioned conversation Person E had with ZAIDI that same



                                                25
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 26 of 39




day. Approximately eight days later, on or about August 15, 2019, Person E’s bank records show

a teller cash withdrawal of $4,900.

       A. Person D’s Travel to Iran

       78.     On or about August 13, 2019, ZAIDI told NAQVI that Person D 16 wanted to see

him as he was leaving in a day or two. ZAIDI asked NAQVI to find out how much money they

want to send through Person D and to call ZAIDI back right away.

       79.     On or about August 21, 2019, ZAIDI spoke to Person D. ZAIDI asked Person D

how much he could take to Iran. Person D replied that he was taking $3,000 of his own money.

ZAIDI said he would give Person D “six and a half” [$6,500] to take, which Person D agreed to

do. The total amount Person D was to carry was thus $9,500, which is under the $10,000 threshold

for a CMIR report. ZAIDI also offered to have a contact in Iran give Person D a tour of the Islamic

Pulse studios, which I believe, based on my training and experience, are located in Qom, Iran.

       80.     CBP records show that Person D left the United States on or about August 23, 2019,

en route to Iran and returned to the United States on or about September 6, 2019.

       81.     On or about September 5, 2019, Person G told ZAIDI that he had to give ZAIDI

khums in the amount of “$6,200.” Person G then said that “[Person D’s first name]” had just

traveled “there,” which I believe refers to Person D’s travel to Iran on or about August 23, 2019.

ZAIDI told Person G that he had sent Person D “fully packed,” which I believe is a reference to

Person D’s carrying just less than the $10,000 reporting requirement for ZAIDI. ZAIDI further




16
        On or about August 13, 2019, ZAIDI only used Person D’s first name. Other evidence,
including court-authorized electronic surveillance and CBP records, shows that ZAIDI was
referring to Person D.


                                                26
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 27 of 39




told Person G that it is not just Person G’s money that needed to be sent, which I believe is a

reference to ZAIDI’s collection of khums from others in the United States.

     A. ZAIDI Relatives Travel to Iran with Cash Structured to Avoid Reporting Requirement

       82.     In or around September 2019, several relatives of ZAIDI traveled to Iran from the

United States, carrying with them U.S. currency structured to avoid reporting requirements. Some

of this money may have been intended to purchase property in Iran for a planned move. However,

during CBP questioning after one of these relatives returned to the United States, this relative

(Person H) admitted that ZAIDI and others collect money from various individuals (in the United

States) and send it in increments of under $10,000 for ultimate delivery to Iran and elsewhere.

       83.     According to CBP records, Person H and Person I (another relative of ZAIDI’s) left

the United States for Iran on or about September 5, 2019, with cash totaling $6,578 and $6,582,

respectively. CBP questioned both Person H and Person I, and they claimed that the money was

personal. Person I told CBP that ZAIDI had given her the money for expenses during her stay in

Iran. Person H claimed that Person G had given her the money to cover her expenses while

traveling in Pakistan.

       84.     Person H returned to the United States on or about October 29, 2019. Person H

initially told CBP that, contrary to her prior statement to CBP, she had left the United States with

$1,000 to $1,500 of her own money. Almost immediately, she remembered that ZAIDI had given

$13,160 to Person I, who then divided the amount, giving Person H $6,578 to carry with her when

she left the United States. When asked what she did with the money in Iran, Person H appeared

confused and had difficulty responding. Eventually, she stated that she returned the money to

Person I, who handed the money to ZAIDI. Person H further stated Person I did not carry the entire

sum because she knew that the limit was $10,000 per person. Person H also explained that the




                                                27
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 28 of 39




money came from friends, associates, and family who trusted ZAIDI with the money to distribute

to needy people and people in poverty. When asked where the money would go, she replied that

she had overheard ZAIDI and his brothers discussing the money going to Yemen, Iran, and other

countries.

       85.        Person H further told CBP that each time money was taken out of the United States

it was in increments of $8,000 to $10,000. As noted above, when questioned while leaving the

United States, Person H originally told CBP that Person G had provided her money to cover her

expenses traveling to Pakistan. However, upon her return to the United States, Person H admitted

that the entire amount was provided by ZAIDI and split between herself and Person I to evade

reporting requirements.

       86.        Person H also told CBP officers that Person J and ZAIDI, both of whom primarily

reside in Iran, had different people who took money out of the United States for them, but Person

H could not provide names. She stated that ZAIDI collected money in the United States, Pakistan,

Iraq, and Iran.

   B. Person B’s Travel to Iran with Money for ZAIDI

       87.        On or about September 26, 2019, Person B told ZAIDI that he was traveling to Iran

on or about October 9, 2019, and from there to Iraq on or about October 11, 2019. ZAIDI asked

Person B if he could carry money for him, and Person B said he could take up to $5,000.

       88.        According to CBP records, on or about October 9, 2019, Person B traveled from

the Washington, D.C. area to Iran. Person B was questioned by CBP. During the interview, Person

B stated that he was carrying $3,000 of his own money and $5,000 for someone else; CBP verified

that the actual amounts were $3,000 and $4,000. Person B claimed that his brother-in-law gave




                                                 28
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 29 of 39




him the money to give to a person in Iran for an unknown purpose. Person B appeared visibly

nervous throughout the exchange.

     C. Sending Money to Iran Through Individuals Traveling to Iraq for Religious Pilgrimage

             1. Operational Planning for Group Trip to Iraq

       89.      According to open-source information, Arba’een is an Islamic religious pilgrimage

that takes place yearly in Karbala, Iraq. In 2019, Arba’een took place in late October. Unless stated

otherwise, the following conversations were obtained via court-authorized electronic surveillance

and/or physical search.

       90.      On or about September 24, 2019, ZAIDI asked Person K whether he had spoken to

people about bringing money as there would be people coming [to Iran] from Iraq and they would

be able to take money with them. ZAIDI clarified that people were going to Iran from Arba’een

(in Iraq). Based on my training and experience, and in the context of this investigation, I believe

that ZAIDI and Person K planned to arrange for individuals to transport money to Iraq and then

for others to transport the money from Iraq to Iran. ZAIDI further stated that his trip was being

sponsored by someone who had asked him not to disclose to anyone who the sponsor was.

       91.      On or about September 26, 2019, ZAIDI told an associate that he had extensively

searched for a ticket and the cheapest option was to go from “here [Houston] to Baghdad [Iraq]

and then from Baghdad to Tehran [Iran] by vehicle, since some people will be returning [to

Tehran].” As discussed below, ZAIDI traveled to Iraq on or about October 16, 2019, and returned

to the United States from Iran on or about October 27, 2019




                                                 29
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 30 of 39




       92.     On or about September 29, 2019, ZAIDI asked Person K for an update on sending

things from there. 17 Person K told ZAIDI that there were three people here who could take money

and that he would speak with another individual. Person K stated that he had spoken to one of the

three who would take “8” [$8,000] but had not spoken to the other two. ZAIDI asked him to do so

because he needed to plan. Person K replied that he would let ZAIDI know the details by

tomorrow. ZAIDI told Person K that there was someone who could take “5” [$5,000].

       93.     On or about September 30, 2019, Person K told ZAIDI that he had found another

person who could carry “eight and a half” [$8,500].

       94.      On or about October 2, 2019, Person K told ZAIDI that he had given “it” to one

party and would give it to the other three parties later. Person K told ZAIDI that he had spoken

with another party, and he would send it through. Person K told ZAIDI that he could take it on his

own. They next discussed the number of travelers, and ZAIDI told Person K that 25 people were

coming. Person K asked ZAIDI when they were coming. ZAIDI replied that they would come

between the five days before the start of Arba’een to two days after the start of Arba’een. 18

       95.     Person G knew about ZAIDI’s collection and transmittal of khums money from the

United States and assisted in the endeavor. For example, on or about October 9, 2019, Person G

told ZAIDI that an individual was “willing to carry 5” [$5,000] . Person G asked ZAIDI if he could

come over then they could both go and withdraw the money. ZAIDI told Person G that he was

going to the airport to drop someone off to depart for Iraq and that they should send “5” [$5,000]



       17
         Since PERSON K flew to Arba’een in Iraq from O’Hare International Airport, I believe
that ZAIDI was asking for an update on sending money from Chicago.
       18
         According to open sources, in 2019, Arba’een began on the evening of October 19, 2019.
The dates of travel based on this information would suggest the majority of the travelers would be
leaving between the third and fourth weeks of October 2019.


                                                 30
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 31 of 39




with this person. Person G told ZAIDI to come and take “it” from him and give it to whomever he

needs. ZAIDI replied that he would come and get it.

       96.     On or about October 10, 2019, Person G asked ZAIDI if he (Person G) should pay

more than $5,000 in khums he owed locally or give it to ZAIDI. ZAIDI replied that Person G

should give it to him. Person G said that he would withdraw and bring the money tomorrow. Based

on the results of the FBI’s investigation, I believe that Person G was asking ZAIDI if the money

should be used locally, for example, in the Houston area, or taken back to Iran with ZAIDI.

       97.     On or about October 10, 2019, ZAIDI and Person G discussed ZAIDI’s taking

money for Person G. Person G told ZAIDI he had “8” [$8,000]. ZAIDI asked Person G how much

he was taking with him. Person G replied that he was taking “10” [$10,000]. ZAIDI asked why he

is taking that and for whom. Person G said that he would give it to the group when he got there.

ZAIDI advised Person G to give them the money here, which would work better.

       98.     On or about October 10, 2019, CBP conducted an outbound inspection of Person

G at George Bush Intercontinental Airport in Houston, Texas. Person G completed an involuntary

CMIR and declared $11,039 in cash. 19 Despite what he had told ZAIDI earlier that same day,

Person G informed CBP that he withdrew the funds from his account the day before and that he

was not carrying any money on behalf of anyone else.

       99.     On or about October 11, 2019, Person G asked ZAIDI if anyone was leaving the

next day and, if so, who. ZAIDI informed Person G that the “youngsters” were set to leave the day

after tomorrow. Based on my knowledge of the results of this investigation, the “youngsters” refers




       19
         PERSON P was originally carrying $10,000 on his person, with his wife carrying the
rest. When CBP informed him that they were considered the same household, he said that all the
money was his and filled out the form.


                                                31
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 32 of 39




to the group of couriers who agreed to carry money from the United States to Iraq (with ultimate

delivery to Iran) for ZAIDI (discussed above).

             2. Group Travel to Iraq with Money for ZAIDI

       100.      On or about October 12, 2019, ZAIDI asked an individual identified as Person L to

take “$7,000” to Iraq for ZAIDI. Person L agreed and further informed ZAIDI that “[Person M’s

first name]” would be traveling on the same flight. Your affiant believes that ZAIDI was referring

to Person M, below.

       101.      Based on CBP records, as well as other evidence developed in this investigation,

on or about October 12, 2019, a group of approximately 25 individuals traveled from Houston to

Iraq for the Arba’een pilgrimage. Person N was part of the group. On October 13, 2019, Person L

and Person M also traveled from Houston to Iraq for Arba’een. CBP questioned each of these three

individuals. During Person N’s interview, he stated that he was traveling with $4,000; CBP verified

the amount. During Person L’s interview, he stated that he was traveling with about $7,900 and

that the money was his and he was not carrying any money for anybody else; CBP verified the

amount. During Person M’s interview, he stated that he was traveling with $7,000 and that the

money was his and that no one had given him any of the money; CBP verified the amount. When

Person M returned, he claimed he had left with $6,000.

       102.      On or about October 13, 2019, NAQVI asked ZAIDI if all of “our youngsters” had

left yesterday and arrived safely in Turkey. 20 NAQVI asked if a security check had been performed

“here” on the “youngsters.” ZAIDI said it had not been confirmed yet but that he had asked an

individual to send a good bye message when they had passed through security and had reached

Turkey. ZAIDI said that 36 of them were traveling and that he was very stressed about it.


       20
            According to CBP records, some of these individuals transited Istanbul en route to Iraq.


                                                 32
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 33 of 39




       103.    On or about October 13, 2019, ZAIDI told NAQVI that he had spoken to an

individual who said that the youngsters traveling with money, and one or two in addition to them,

had been pulled to the side. NAQVI said the passengers were going everywhere and not everyone

was traveling to Iran. ZAIDI said the youngsters were picked out of the group and they were

carrying money. ZAIDI said he was trying to confirm with one of the travelers.

       104.    On or about October 13, 2019, NAQVI asked ZAIDI if he had given anything to

Person O, to which ZAIDI said no. NAQVI reported that one of the travelers was able to “skim

through” [was not pulled aside by customs] and nothing happened. ZAIDI commented that “we

are not taking it seriously.” NAQVI said based on this situation they had to separate those students.

ZAIDI reported that he had just spoken to a different traveler who had not disclosed much. ZAIDI

said that they would discuss this issue as it was genuine; NAQVI agreed. ZAIDI said that this other

traveler reported that they had been “asked to step aside when they were boarding and it was just

them not everyone.” ZAIDI said that he would get more details when he got there and would meet

with them. NAQVI said that they focused on one aspect while there were so many of them.

       105.    On or about October 13, 2019, ZAIDI told NAQVI that “they” took pictures of “the

currency.” He further stated that “he does not want to say that it is nothing.” NAQVI responded

that “it cannot be ignored but it cannot also be blown out of proportion.” Based on my training and

experience, and in the context of this investigation, I believe that ZAIDI and NAQVI were

discussing CBP’s secondary inspections of Person L, Person M, and Person N, and others and

were surmising that it was possible that law enforcement had learned about ZAIDI’s scheme.

       106.    During the same conversation, ZAIDI stated that he “hates accounting and

calculations” and that “he spent two to three hours figuring things out.” Additionally, he told

NAQVI that “he thought he had sent 49 but had actually given 45.” Based on my training and




                                                 33
       Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 34 of 39




experience, and in the context of this investigation, I believe ZAIDI was explaining to NAQVI

that he had sent $45,000 to Iran with the group who had traveled to Iraq for Arba’een.

       107.    On or about October 14, 2019, ZAIDI and NAQVI discussed what would happen

when the group returned from Iraq. NAQVI said that they would have “terrible diarrhea” and told

ZAIDI to “just make sure no one shits.” Based on my training and experience and knowledge of

this investigation, I believe that ZAIDI and NAQVI were discussing the likelihood that the group

of travelers to Iraq who had taken money intended for Iran would be questioned by CBP on their

return and NAQVI’s hope that none of them would talk to authorities about what they had done.

ZAIDI told NAQVI that it had happened to Person K as well. ZAIDI said that when Person K had

left he had sent ZAIDI a message saying that it was “quite hot” when he left the United States. In

the context of this investigation, I believe that “quite hot” refers to the questioning Person K

received leaving the country.

       108.    According to CBP records, on or about October 16, 2019, ZAIDI traveled from the

United States to Iraq and returned to the United States from Iran on or about October 27, 2019.

       109.    On or about October 28, 2019, ZAIDI called Person L and, while laughing, asked

if Person L had returned. Person L responded that “they have to suffer so much because of him.”

ZAIDI asked Person L if he had been pulled aside at the airport on his way back. Person L

responded that he would call ZAIDI from a different number.

       110.    On the same day that ZAIDI spoke with Person L, ZAIDI spoke to Person P, who

said he invited all of the “youngsters” for breakfast. ZAIDI asked Person P how the guys were

doing since he heard all of them had received a “grandeur” protocol on their return. Person P said

yes and asked if ZAIDI also had received the protocol to which ZAIDI said it was extensive. Based




                                               34
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 35 of 39




on my training and experience and the context of this and other conversations, I believe ZAIDI

and Person P were discussing CBP secondary inspections and questioning.

       111.    Also on or about October 28, 2019, ZAIDI contacted Person G regarding Person

G’s secondary inspection at the airport the night before. Person G said it was the same officer who

had questioned him before; he said the officer asked about the trip, locations visited, persons met,

if someone had given Person G anything, and if anyone had asked Person G to lie to border

officials/law enforcement if encountered. ZAIDI chuckled after Person G shared this information.

ZAIDI asked Person G if the officer had asked about any special person in particular to which

Person G replied no. ZAIDI told Person G that he had received intense scrutiny at the airport when

he was taken aside.

       112.    During a Court-authorized search of ZAIDI’s Google Account, the FBI found an

audio recording dated on or about October 22, 2019. In that recording, ZAIDI was asked by an

unidentified individual “if it is confirmed that people from Iran are going to Iraq.” This individual

stated that he had heard that those people are unable to obtain visas and that “he wants to confirm

because he is about to send the money with someone.” This individual further stated that “if people

are coming to [Arba’een, the pilgrimage in Iraq] [then] he can give it to them there.” Based on my

training and experience, and in the context of this investigation, I believe that ZAIDI and the

individual were discussing how to move money from Iraq to Iran.

                      ZAIDI’s s Use of Operational Security and Tradecraft

       113.    On or about September 25, 2019, ZAIDI told Person Q that a particular bank

location did not check identification. ZAIDI said he was thinking of making this bank the regular

procedure. ZAIDI recalled that the last time he had used this bank they did not ask for any

identification so no one could tell who deposited the money.




                                                 35
        Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 36 of 39




        114.   On or about October 16, 2019, before ZAIDI left the United States for Iraq, NAQVI

instructed him to “fix and clean his device” to which ZAIDI agreed. Based on my training and

experience, I believe that NAQVI’s instructions to “fix and clean his device” refer to ZAIDI’s

wiping his mobile phone of evidence of their activity before going through security screening at

the airport.

        115.   On or about December 3, 2019, ZAIDI told an associate that he was leaving for

Iran on December 22, 2019, and the two engaged in a discussion about security searches and

interviews at the airport. ZAIDI stated that he had purchased the phone he had with him in the

United States and that he would never bring a phone he had in Iran to the United States. The

associate to whom ZAIDI was speaking advised him to delete an encrypted messaging application

from his phone.

        116.   On or about June 24, 2020, ZAIDI told NAQVI that ZAIDI could not openly tell

another associate why ZAIDI was in the United States. ZAIDI further said he had just returned

from a meeting and was extremely exhausted from it.

        117.   On or about July 5, 2020, ZAIDI told Person Q that he had stopped another

associate from discussing something over an encrypted messaging application because he figured

it was something dangerous. ZAIDI then asked Person Q to set up a meeting with this associate so

that they could discuss the issue in person.

        118.   On or about July 14, 2020, ZAIDI asked an associate for his address, which he had

asked for previously. When asked why he needed the address again, ZAIDI responded that he had

been told “by the people not to enter their address in the GPS.” ZAIDI clarified it was not him, but

the “people” who said that.




                                                36
       Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 37 of 39




       119.       According to a check of records maintained by OFAC on [July 31, 2020], at no

time did ZAIDI, NAQVI, or CHAWLA apply for a license from OFAC, which is located in the

District of Columbia, to supply services, directly or indirectly, to Iran, the GOI, or the Supreme

Leader of Iran.

       120.       According to a check of records maintained by the Foreign Agents Registration Act

unit at the Department of Justice on [July 31, 2020], at no time did ZAIDI notify the Attorney

General, whose office in the Department of Justice is located in the District of Columbia, that he

would be acting as an agent of the government of Iran within the United States.

                                           CONCLUSION

       121.       Based on my training and experience, and in light of all the information described

herein, I believe ZAIDI is acting as an agent of the GOI and is collecting money in the United

States and sending that money to Iran on behalf of the GOI and the Supreme Leader of Iran. ZAIDI

is one of a team who has authority to collect money in the United for and on behalf of the Supreme

Leader and who is loyal to the GOI and the Supreme Leader of Iran. Based on my training and

experience, ZAIDI’s travel to Syria, and his access to IRGC bases, aircraft, and the Supreme

Leader’s representative in Syria are consistent with someone working for or on behalf of the GOI,

IRGC, and the Supreme Leader of Iran and/or his office.

       122.       In addition, based on my training and experience, and on the operational security I

have seen him employ, I believe that ZAIDI has received some training from the GOI and/or IRGC

regarding his activities in the United States. ZAIDI prefers to hold conversations in person and

believes doing so over the phone, even via an encrypted app, could be dangerous. ZAIDI

communicates in coded language with others involved in collecting funds and arranging for the

transmission of funds to Iran. ZAIDI also avoids telling some friends the real reason he is in the




                                                  37
       Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 38 of 39




United States. Lastly, I have observed him conducting a possible surveillance detection route.

Based on my training and experience, ZAIDI’s behavior is consistent with having received training

from a foreign government or foreign intelligence service, such as the GOI and/or the IRGC.

       123.   I further believe that NAQVI, CHAWLA, and others known and unknown have

conspired with ZAIDI to collect U.S. dollars and then cause that money to be transported to Iran,

without having first obtained a license from OFAC.

       124.   Based on the foregoing allegations, I submit that there is probable cause to believe

that MUZZAMIL ZAIDI, ASIM NAQVI, and ALI CHAWLA, and others known and unknown

have conspired to provide services to Iran and the GOI, by collecting money in the United States

on behalf of the Supreme Leader of the Islamic Republic of Iran, the Ayatollah Ali Husseini

Khamenei, a Specially Designated National, and causing the money to be transported to Iran,

without having first obtained a license from OFAC, as required by law, in violation of 50 U.S.C.

§§ 1701-1705. I further submit there is probable cause to believe that MUZZAMIL ZAIDI has




                                               38
   Case 1:20-cr-00181-CRC Document 1-1 Filed 08/17/20 Page 39 of 39




knowingly acted as an agent of a foreign government, namely, the government of Iran, in the

United States, without prior notification to the Attorney General, as required by law, in violation

of 18 U.S.C. § 951.




                                                     J~errell
                                                     Special Agent
                                                     Federal Bureau ofInvestigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 17th day of August, 2020,
                                                                             2020.08.17
                                                                             19:16:13 -04'00'
                                                     G. MICHAEL HARVEY
                                                     United States Magistrate Judge




                                               39
